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     ALGERNON TAMASOA
 7

 8                       IN THE UNITED STATES DISTRICT COURT FOR THE

 9                             EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                      )       No. 15-CR-00124-KJM
                                                    )            15-CR-00209-GEB
12                                                  )
            Plaintiff,                              )       STIPULATION AND
13                                                  )       [PROPOSED] ORDER REGARDING
     v.                                             )       CONDITIONS OF PRETRIAL RELEASE
14                                                  )       (CURFEW)
     ALGERNON TAMASOA,                              )
15                                                  )       Date: n/a
                                                    )       Time: n/a
16                                                  )       Judge: Honorable Allison Claire
            Defendants.                             )
17                                                  )
                                                    )
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21          In the matter at bar, Defendant seeks to temporarily alter the Court’s previously issued
22   Pretrial Release Order issued by the Hon. Carolyn K. Delaney on October 16, 2015.
23          Mr. Tamasoa’s oldest nephew is graduating from Grant High School tomorrow at 7:00
24   pm. He is the son of his sister who is one of the co-signors on his release bond. The family is
25   having a reception afterwards and Mr. Tamasoa seeks to attend the graduation and the reception
26   without violating the term on his electronic monitoring which mandates a return to his house at
27   7:00pm. In order to attend the graduation and reception he seeks permission to be away from
28   his residence until 11:00pm on June 7, 2016.


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 1          According to Renee Basurto his pretrial services officer, he has been compliant with the
 2   terms of his release and she has no objection to the extension of his curfew to 11:00pm.
 3          AUSA Christiaan Highsmith also indicated that he too has no objection to the requested
 4   temporary modification in light of Ms. Basurto’s position.
 5          IT IS HEREBY stipulated between the United States of America through its undersigned
 6   counsel, Christiaan Highsmith, Assistant United States Attorney, attorney for plaintiff and Kyle
 7   Knapp, attorney for defendant Algernon Tamasoa;, that Special Condition of Release, No. 13,
 8   be modified to allow him to attend the graduation and the family gathering that follows.
 9   Expressly, that he be allowed to return to his house no later than 11:00 pm June 7, 2016.
10          All other terms and conditions of release remain in place.
11   IT IS SO STIPULATED.
12

13   Dated: June 6, 2016                                          PHILLIP A. TALBERT
                                                                  ACTING UNITED STATES
14                                                                ATTORNEY
15
                                                         by:      /s/ Christiaan Highsmith
16                                                                CHRISTIAAN HIGHSMITH
                                                                  Assistant U.S. Attorney
17                                                                Attorney for Plaintiff
18
     Dated: June 6, 2016                                          /s/ Kyle R. Knapp
19                                                                KYLE KNAPP
                                                                  Attorney for Defendant
20                                                                ALGERNON TAMASOA
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 1
                                        [PROPOSED] ORDER
 2
            The Stipulation of the parties is hereby accepted and special condition of release No. 13
 3
     is temporarily altered so that Mr. Tamasoa can attend his nephew’s Grant High School
 4
     graduation. Accordingly, his June 7, 2016 curfew is modified from 7:00 pm to 11:00 pm. All
 5
     other terms and conditions of release remain the same.
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 7          IT IS SO ORDERED.

 8   Dated: June 7, 2016
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